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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 07-20100-05-JWL


Jesus Gabriel Gandara-Escarcega,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Mr. Gandara-Escarcega’s pro se motion for reduction

of sentence pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Gandara-Escarcega asks the court

to reduce his sentence based on a proposed amendment (Amendment 782) to the United States

Sentencing Guidelines which will take effect on November 1, 2014 (absent Congressional

action) and lower the base offense levels in the Drug Quantity Table. On July 18, 2014, the

United States Sentencing Commission voted to apply the proposed amendment retroactively to

those offenders currently in prison, but with a requirement that the reduced sentences cannot

take effect until November 1, 2015.

      The Honorable J. Thomas Marten of the District of Kansas recently appointed the Office

of the Federal Public Defender to represent any defendant previously determined to have been

entitled to appointment of counsel, or who is now indigent, to determine whether that defendant

may qualify for relief under proposed Amendment 782. The record reflects that Mr. Gandara-

Escarcega may be entitled to have the Federal Public Defender represent him to determine in the

first instance whether Mr. Gandara-Escarcega qualifies for relief under the proposed
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amendment. In light of these circumstances, the court believes that the most efficient way to

resolve the issue raised by Mr. Gandara-Escarcega is to forward Mr. Gandara-Escarcega’s

motion (along with a copy of this order) to the Office of the Federal Public Defender for an

initial determination of whether Mr. Gandara-Escarcega qualifies for representation and is

entitled to a reduction in his sentence in light of the proposed amendment. In the meantime, the

court will deny Mr. Gandara-Escarcega’s motion without prejudice to refiling the motion on or

after February 2, 2015 if the Office of the Public Defender declines to seek relief for Mr.

Gandara-Escarcega under Amendment 782.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Gandara-Escarcega’s

motion for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 288) is denied without

prejudice to refiling on or after February 2, 2015.



       IT IS FURTHER ORDERED BY THE COURT THAT the Clerk of the Court shall

forward to the Office of the Federal Public Defender a copy of this order along with a copy of

Mr. Gandara-Escarcega’s pro se motion for reduction of sentence.



       IT IS SO ORDERED.

       Dated this 21st day of October, 2014, at Kansas City, Kansas.



                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge

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